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 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11    OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12
                              Plaintiff,SUPPLEMENTAL DECLARATION
13                                      OF BRANDON J. WITKOW IN
           vs.                          SUPPORT OF DEFENDANT LIN’S
14
                                        WAHA INTERNATIONAL
15    LIN’S WAHA INTERNATIONAL CORP.’S MOTION FOR
      CORP, a New York corporation; and ATTORNEYS’ FEES
16
      DOES 1-10.
17                                      Hearing:
18                            Defendant.
                                             Date: July 23, 2021
19                                           Time: 8:30 a.m.
20
                                             Ctrm: 6C

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                    SUPPLEMENTAL DECLARATION OF BRANDON J. WITKOW
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 1         SUPPLEMENTAL DECLARATION OF BRANDON J. WITKOW
 2         1.       I am an attorney at witkow | baskin duly admitted to practice in all of the
 3   courts of the State of California and I am counsel to Defendant Lin’s Waha
 4   International Corp. (“Defendant”) in the above-captioned matter. I provide this
 5   supplemental declaration in support of Defendant’s Motion for Attorneys’ Fees
 6   Pursuant to 15 U.S.C. § 1117(a) (the “Motion”). Based on my responsibilities and
 7   my own involvement in the facts and circumstances described below, I have personal
 8   knowledge of the facts set forth herein which I know to be true, except as to the
 9   matters that are stated on my information and/or belief, and as to those matters, I
10   believe them to be true.
11         2.       As I previously declared in paragraph 2 of my original declaration
12   [Docket # 45-1], on May 27, 2021, pursuant to L.R. 7-3, I sent an email to Plaintiff
13   OCM Group USA Inc.’s counsel, Jeff Lee, by electronic mail, requesting that the
14   parties’ meet and confer as to the Motion.        Mr. Lee responded on June 1, 2021
15   disputing the positions stated in my email. On June 2, 2021, I spoke to Mr. Lee by
16   telephone for approximately 20 minutes relating to the Motion, but was unable to
17   reach a resolution.     Attached hereto as Exhibit A is a true and correct copy of the
18   complete email string between myself and Mr. Lee leading to our telephone
19   discussion.
20         3.       Based on the foregoing communications, the parties clearly engaged in
21   significant meet and confer regarding the Motion. Moreover, I selected a July 23,
22   2021 hearing, more than 7 weeks after the Motion was filed on June 2, 2021, in order
23   to accommodate Mr. Lee’s schedule. Plaintiff does not and cannot contend that the
24   parties did not adequately meet and confer in advance of the filing of Defendant’s
25   Motion, nor does Plaintiff argue that it was in any way prejudiced by the filing of
26   Defendant’s Motion on June 2, 2021 (six days after the parties initiated their meet
27   and confer).
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                       SUPPLEMENTAL DECLARATION OF BRANDON J. WITKOW
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 1         I declare under penalty of perjury under the laws of the United States of
 2   America that the foregoing is true and correct and that this was executed on July,
 3   2021, at Los Angeles, California.
 4
                                   /s/ Brandon J. Witkow
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                                     Brandon J. Witkow
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                     SUPPLEMENTAL DECLARATION OF BRANDON J. WITKOW
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                                                             Exhibit A
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Brandon Witkow

From:                    jflee@ltpacificlaw.com
Sent:                    Wednesday, June 2, 2021 9:15 AM
To:                      Brandon Witkow
Cc:                      'Denise Hsu'
Subject:                 RE: OCM Group USA/Lin's Waha/L.R. 7-3 Meet & Confer


Brandon,

3 pm today?

Jeff

From: Brandon Witkow <bw@witkowlaw.com>
Sent: Wednesday, June 2, 2021 6:54 AM
To: jflee@ltpacificlaw.com
Cc: 'Denise Hsu' <dhsu@ltpacificlaw.com>; Brandon Witkow <bw@witkowlaw.com>
Subject: RE: OCM Group USA/Lin's Waha/L.R. 7‐3 Meet & Confer

Jeff:

I am happy to discuss these points with you. Please let me know when you are available today. Thanks.


Brandon J. Witkow
_____________________________________




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immediately by return e‐mail and delete the original message from your e‐mail system. Thank you.


From: jflee@ltpacificlaw.com <jflee@ltpacificlaw.com>
Sent: Tuesday, June 1, 2021 7:12 PM
To: Brandon Witkow <bw@witkowlaw.com>; 'Brandon J. Witkow' <bwitkow@gmail.com>
Cc: 'Denise Hsu' <dhsu@ltpacificlaw.com>
Subject: RE: OCM Group USA/Lin's Waha/L.R. 7‐3 Meet & Confer

Brandon,

Here are my thoughts.



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First of all, OCM is the exclusive distributor of the XPP branded products and is fully justified to file suit to
protect its business interest. As you can see from the evidence produced, OCM actively enforces such
exclusivity by sending cease‐and‐desist letters (a first letter went to Lin’s Waha in July, 2019, written by a
different law firm). If LW somehow proves that the non‐authorized products are not subject to liability due to
first sale doctrine, as the case presently stands per the ruling on the MSJ, then there is a determination as to
LW’s lack of liability, for now. That’s the purpose of resolving a dispute: a business dispute resolved in a court
of law.

No court would fault OCM’s rightful enforcement action. Especially given the low damages, OCM tread lightly
on legal fees (see below) proportional to the business disputes at hand.

The point of awarding reasonable attorney fees (to a prevailing party, defendant in this case) is, among others,
to deter plaintiff from engaging in the same “unreasonable” litigation acts. But this purpose will not be served
because OCM will sue anyone who sells the “XPP branded products in US, given its exclusive status (as OCM
will appeal the merits of this judgment).

Upon receiving the Cease‐and‐Desist letters, all other merchants quickly ceased selling the XPP branded
products, for a simple reason: they acknowledged OCM’s exclusivity and they could be sued by OCM for selling
the XPP branded products, unauthorized.

In addition, the XPP branded products provided to OCM used different milk components sourced from New
Zealand or Australia. OCM’s XPP products are imported with a foreign vet certificate to meet the USDA
regulations. LW’s XPP products (presently determined to be under the protection of first sale doctrine) are the
Chinese domestic version that are NOT to be sold in U.S. The USDA’s seizure notices are further proof that
LW’s importation of those products are illegal.

OCM and XPP cannot allow such illegal seizure facts to happen. In LW’s motion paper (Reply), you researched
the USDA regulations and pointed to certain regulations that the dry milk / powder products are exempt from
the vet certificate. The Court apparently adopted your finding. (OCM previously checked with USDA and
Customs broker and was under the impression that there is no such exemption; this legal point is being looked
at by our appellate counsel.) However, the seizure notices pertain to liquid milk content and the
determination of illegality is left undisturbed

Based upon the sales sources disclosed by LW, OCM has learned that XPP has terminated distributing products
to domestic sellers who shipped the domestic products to US. Again, XPP is only shipping the US‐bound
products (containing New Zealand or Australia milk content) to OCM. XPP and OCM will work together to stop,
by filing lawsuits if necessary, any merchants who are selling XPP branded products in US not authorized by
XPP. (Again, these merchants, if sued, may prove that first sale doctrine would apply; but until such
determination of no‐liability, OCM will take legal actions.)
             .
Given the amount of damages based upon the sales number produced, OCM tread this case lightly. As you
know, despite LW’s selling the unauthorized products that disrupted OCM’s US market exclusivity, the $24k
damages (on disgorgement of unjust enrichment theory) weighed heavily on OCM’s calculation of how to deal
with this business dispute.

Early on when Parties held the first settlement, OCM was only demanding $10k, to which LW’s position was
that it would pay the $10K via purchasing/selling OCM’s genuine products. No settlement was reached. The

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second settlement talk, OCM’s demand went up to $20k, with mediator’s suggestion that LW paid some $13k
to OCM. No settlement was reached.

Throughout this case, OCM has no reason to believe that it’s enforcement of the exclusivity is inappropriate in
anyway, especially it has always been LW offering to pay money to OCM, despite no settlement deal reached.

It is surprising to me that LW could have solved a business problem at $10k (and refused), and then at $20k
(and refused), and now trying to throw good money after bad money amount of $67k. The settlement
negotiation is not admitted at trial, but can be admitted for other purpose, including determining that OCM’s
litigation is done in good faith.

As to the cased you cited, they are not helpful to LW at all. The Octane Fitness v. ICON Health and TheromoLife
v. Myogenix cases are patent cases. These patent cases are acknowledged to be parallel authorities (in the
Kolay Florring v. Milliken case), though they provide the guiding principle that prevailing party may be entitled
to reasonable attorney fees.

The Gucci America v. Pieta case awards attorney fees to plaintiff (Gucci Am.). The case has no applicability to
our instant action. Consequently, the only case that can be remotely relevant to LW is the Kolay Flooring case.

In the Kolay case, the Defendant was awarded attorney fees only for Plaintiffs’ inunction motion that was filed
without evidence of irreparable harm (and failed to respond to Defendant’s request for amendment). Kolay’s
“utter failure of proof” point is simply not applicable. In our case, OCM is the exclusive distributor and there is
evidence of LW’s illegal import. And as I stated earlier, OCM is justified to file suit against LW and will sue
others if they do the same type of import and resales of XPP products. (And the evidence produced showed
that other merchants quickly ceded to OCM’s exclusivity).

I don’t think your client can establish an exceptional case; proceeding with such a motion would be throwing
good money after bad.

I am generally available for a teleconference tomorrow or Thursday. Let me know what works for you.
Best.

Jeff



From: jflee@ltpacificlaw.com <jflee@ltpacificlaw.com>
Sent: Thursday, May 27, 2021 9:38 PM
To: 'Brandon Witkow' <bw@witkowlaw.com>
Subject: RE: OCM Group USA/Lin's Waha/L.R. 7‐3 Meet & Confer

Brandon,

I am surprised by this meet and confer.
I will go over and then get back to you, including set a date/time for conference as you suggested.
Best.

Jeff

                                                            3
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From: Brandon Witkow <bw@witkowlaw.com>
Sent: Thursday, May 27, 2021 7:52 AM
To: jflee@ltpacificlaw.com
Cc: Brandon Witkow <bw@witkowlaw.com>
Subject: OCM Group USA/Lin's Waha/L.R. 7‐3 Meet & Confer

Jeff:

I am writing pursuant to Local Rule 7-3 in order to meet and confer on Defendant Lin’s
Waha contemplated Motion for Attorneys’ Fees Pursuant to 15 USC § 1117(a) (the “Motion”). The legal and
factual bases for the Motion are set forth below. Please let me know when you are available for a
teleconference within the next 7 days.

“The court in exceptional cases may award reasonable attorney fees to the prevailing party.” 15 U.S.C. §
1117(a). A party prevails, inter alia, when a court grants summary judgment in that party’s favor. See, e.g.,
Gucci Am., Inc. v. Pieta, 2006 WL 4725707, at *1 (C.D. Cal. July 17, 2006). The Supreme Court announced a
“more relaxed approach” to the exceptional case standard in Octane Fitness, LLC v. ICON Health & Fitness,
Inc., 572 U.S. 545, 554 (2014), holding that “an ‘exceptional’ case is simply one that stands out from
others.” Id. Under this new standard, a case may be “exceptional” or “stand out from others” either “with
respect to the substantive strength of a party’s litigating position (considering both the governing law and the
facts of the case) or the unreasonable manner in which the case was litigated.” Id.; ThermoLife Int'l, LLC v.
Myogenix Corp., 2017 WL 1235766, at *3 (S.D. Cal. Apr. 4, 2017).

Here, Plaintiff’s trademark infringement claim was objectively unreasonable. As explained in Defendant’s
summary judgment motion, and as this Court concluded in granting that motion, the law is clear that Defendant
cannot be liable under the Lanham Act for the sale of “genuine” foreign-manufactured goods or goods that are
not “materially different” than those sold by Plaintiff. Plaintiff admitted in discovery that the products sold by
Defendant were genuine, and Plaintiff failed in discovery to identify evidence any differences between the
products at issue (much less material differences). Yet, Plaintiff nonetheless continued to pursue this
action. Furthermore, when the parties met and conferred regarding the substance of Defendant’s anticipated
summary judgment motion, Plaintiff again provided no evidence of any material differences between the
products at issue, and forced Defendant to expend the time and resources to move for summary judgment. A
case can transform from an ordinary one into an exceptional one when” a party pursues a claim where there is
an ‘utter failure of proof.’”

Even when faced with the motion itself, as this Court repeatedly noted throughout its Summary Judgment
Order, Plaintiff provided absolutely no evidence to demonstrate any material differences between the products,
and offered nothing more than conclusory and speculative assertions. At no time over the course of this action
did Plaintiff provide any competent evidence of any material differences between the products at issue, nor did
Plaintiff provide any legal authority to support its claims for trademark infringement or unfair competition. Put
simply, Plaintiff made no effort to establish the reasonableness of its claims. See Kolay Flooring Int’l, LLC v.
Milliken & Company, 2019 WL 3059276, at *1, *8 (C.D. Cal. March 6, 2019) (finding plaintiff’s trademark case
to be “exceptional” when plaintiff relied only on “bare assertions and conclusory statements”) (citing Secalt S.A.
v. Wuxi Shenxi Constr. Mach. Co., Ltd. 668 F.3d 677, 688 (9th Cir. 2012) (affirming district court’s finding of an
exceptional case where the plaintiff “failed to provide the court with any evidence that there were debatable
issues of law and fact” and “at best offered either unsupported or conclusory claims”).

Based on the foregoing, Defendant will be requesting an award of attorneys’ fees in the amount of $67,575.00.



Brandon J. Witkow
_____________________________________



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